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Sheet 1

UNITED STATES DISTRICT COURT

 

District of Columbia
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V. )
JACOB ANTHONY CHANSLEY ) Case Number; 21-CR-3 (RCL)

a/k/a Jacob Angeli )
USM Number: 24866-509
) Albert S Watkins
) Defendant’s Attorney

THE DEFENDANT:
M1 pleaded guilty to count(s) _ Two (2) of the Indictment

LC pleaded nolo contendere to count(s)
which was accepted by the court.

 

[1] was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC 1512(c)(2) Obstruction of an Official Proceeding 1/6/2021 2
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
CJ The defendant has been found not guilty on count(s)

 

¥j Count(s) One, Three through Six OC is are dismissed on the motion of the United States.

 

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/17/2021

Date of Imposition of Judgment

Cope 0. Seba

Signature of Judge

 

Honorable Royce C. Lamberth, U.S.D.C. Judge

 

Name and Title of Judge

tli jo

 

Date
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AO 245B (Rev, 09/19) Judgment in Criminal Case

Sheet 2 — Imprisonment

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DEFENDANT: JACOB ANTHONY CHANSLEY a/k/a Jacob Angeli
CASE NUMBER: 21-CR-3 (RCL)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

41 months with credit for time served.

Wi The court makes the following recommendations to the Bureau of Prisons:

Placement at FCI Phoenix to be near family members.

¥1 The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:

C] at Oam 0 pm. on

 

Cas notified by the United States Marshal.

C1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
C1 before 2 p.m. on

C1 as notified by the United States Marshal.

Las notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
- UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: JACOB ANTHONY CHANSLEY a/k/a Jacob Angeli
CASE NUMBER: 21-CR-3 (RCL)

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

36 months (3 years)

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3, You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C1 The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)
4. 1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)
5. (1 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
CJ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7, C1 You must participate in an approved program for domestic violence. (check if applicable)

—_

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev, 09/19) Judgment in a Criminal Case
Sheet 3A — Supervised Release

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DEFENDANT: JACOB ANTHONY CHANSLEY a/k/a Jacob Angeli
CASE NUMBER: 21-CR-3 (RCL) .

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4, You must answer truthfully the questions asked by your probation officer.

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this

judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature / Date _
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Sheet 3B — Supervised Release

Judgment—Page 5 of 7

DEFENDANT: JACOB ANTHONY CHANSLEY a/k/a Jacob Angeli
CASE NUMBER: 21-CR-3 (RCL)

ADDITIONAL SUPERVISED RELEASE TERMS

You shall comply with the following special conditions:

1. Substance Abuse Testing - You must submit to substance abuse testing to determine if you have used a prohibited
substance. You must not attempt to obstruct or tamper with the testing methods.

2 Mental Health Treatment - You must participate in a mental health treatment program and follow the rules and
regulations of that program. The probation officer, in consultation with the treatment provider, will supervise your
participation in the program.

3. Restitution Obligation - You must pay the balance of any restitution owed at a rate of no less than $50 each month,

4. Financial Information Disclosure - You must provide the probation officer access to any requested financial information
and authorize the release of any financial information. The probation office may share financial information with the United
States Attorney's Office.

5. Financial Restrictions - You must not incur new credit charges, or open additional lines of credit without the approval of
the probation officer.

6. Re-entry Progress Hearing - Within forty-five days of release from incarceration you will appear before the Court for a
re-entry progress hearing. The United States Probation Office in the district in which you are supervised will submit a
progress report to the court within the thirty days of the commencement of supervision; and upon receipt of the progress
report, the Court will determine if your appearance is required.

The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or
termination from treatment.

NOTICE OF APPEAL

Pursuant to 18 USC § 3742, you have a right to appeal the sentence imposed by this Court if the period of imprisonment is
longer than the statutory maximum or the sentence departs upward from the applicable Sentencing Guideline range. If you
choose to appeal, you must file any appeal within 14 days after the Court enters judgment.

As defined in 28 USC § 2255, you also have the right to challenge the conviction entered or sentence imposed if new and
currently unavailable information becomes available to you or, on a claim that you received ineffective assistance of
counsel in entering a plea of guilty to the offense(s) of conviction or in connection with sentencing.

If you are unable to afford the cost of an appeal, you may request permission from the Court to file an appeal without cost
to you.
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Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: JACOB ANTHONY CHANSLEY a/k/a Jacob Angeli
CASE NUMBER: 21-CR-3 (RCL)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 100.00 $ 2,000.00 $ $ $
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an Reproxumately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee . Total Loss*** Restitution Ordered Priority or Percentage
Architect of the Capitol $2,000.00

Office of the Chief Financial Officer
Attn: Kathy Sherrill, CPA

Ford House Office Building

Room H2-205B

Washingon, DC 20515

SEE PAGE 5 FOR PAYMENT DETAILS

TOTALS $ 2,000.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

¥] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
¥1 the interest requirement is waived forthe 1 fine WM restitution.

(1 the interest requirement for the CL] fine [0 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22, . .

*** Findings for the total amount of losses are pani under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or alter September 13, 1994, but before’April 23, 1996.
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J
Sheet Schedule of Payments

Judgment — Page 7 of if
DEFENDANT: JACOB ANTHONY CHANSLEY a/k/a Jacob Angeli

CASE NUMBER: 21-CR-3 (RCL)

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A &% Lump sum payment of$ 100.00 _—_—— due immediately, balance due

L] notlaterthan _, or
Mi inaccordance with (] C, OF D, OF E,or | F below; or

B (J Payment to begin immediately (may be combined with CIC, L1D,or (CF below); or
C UO) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
_ (¢.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (C1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
__ (@.g., months or years), to commence ___ (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F  &_ Special instructions regarding the payment of criminal monetary penalties:

The special assessment is immediately payable to the Clerk of the Court for the U.S. District Court, 333
Constitution Ave, NW, Washington, DC 20001. Restitution payments shall be made to the Clerk of the Court and
disbursed as noted on page 6. Within 30 days of any change of address, you shall notify the Clerk of the Court of
the change until such time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, ifth ied enon imposes imprisonment, peyerent of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 Joint and Several

Case Number .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

C] The defendant shall pay the cost of prosecution.
C The defendant shall pay the following court cost(s):

C1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be sep ied in the following order: (1) assessment, @) restitution Be scipal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
